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                                     UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF INDIANA
                                           FORT WAYNE DIVISION

 IN THE MATTER OF:                                                  )
                                                                    )
 BRITTANI HILL,                                                     )    CASE NO. 18-10423
                                                                    )    Chapter 7
                                    DEBTOR.                         )




        ORDER GRANTING TRUSTEE’S APPLICATION TO EMPLOY ATTORNEYS


                                       August 28, 2018
           AT FORT WAYNE, INDIANA, ON _______________________________.
           Upon the Application of Martin E. Seifert, Trustee, for authority to hire the law firm of Haller
& Colvin, P.C. as counsel under a general retainer to represent the Trustee’s interest in this case, and
it appearing that Haller & Colvin, P.C. are attorneys duly admitted to practice in this Court, that they
represent no interest adverse to this estate, that their employment is necessary and is in the best
interest of the estate, it is therefore
           ORDERED that Martin E. Seifert, Trustee, is hereby authorized to hire the law firm of
Haller & Colvin, P.C. as attorneys in the above-captioned case under general retainer.
           SO ORDERED.


                                                           /s/ Robert E. Grant
                                                          _____________________________________________
                                                          JUDGE, UNITED STATES BANKRUPTCY COURT




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